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 1   SO. CAL. EQUAL ACCESS GROUP
     Jason J. Kim (SBN 190246)
 2   Jason Yoon (SBN 306137)
     101 S. Western Ave., Second Floor
 3   Los Angeles, CA 90004
     Telephone: (213) 252-8008
 4   Facsimile: (213) 252-8009
     scalequalaccess@yahoo.com
 5
     Attorneys for Plaintiff
 6   MICHAEL RHAMBO
 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
     MICHAEL RHAMBO,                           Case No.:
11
                 Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                             RELIEF AND DAMAGES FOR
           vs.                                 VIOLATION OF:
13
                                               1. AMERICANS WITH DISABILITIES
14   CIRCLE K STORES INC.; and DOES 1 to       ACT, 42 U.S.C. §12131 et seq.;
15   10,                                       2. CALIFORNIA’S UNRUH CIVIL
                 Defendants.                   RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                             52 et seq.;
17                                             3. CALIFORNIA’S DISABLED
                                               PERSONS ACT, CAL CIV. CODE §54 et
18                                             seq.
19                                             4. CALIFORNIA’S UNFAIR
                                               COMPETITION ACT, CAL BUS & PROF
20                                             CODE § 17200, et seq.
21                                             5. NEGLIGENCE
22
23
24
           Plaintiff MICHAEL RHAMBO (“Plaintiff”) complains of Defendants CIRCLE K
25
     STORES INC.; and DOES 1 to 10 (“Defendants”) and alleges as follows:
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     //
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     //
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                                  COMPLAINT FOR DAMAGES - 1
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 1                                 JURISDICTION AND VENUE
 2         1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9   property which is the subject of this action is located in this district, Los Angeles County,
10   California, and that Plaintiff’s causes of action arose in this district.
11                                             PARTIES
12         4.     Plaintiff is a California resident with a physical disability with substantial
13   limitation in his ability to walk. Plaintiff suffers from paraplegia due to T12 vertebrae
14   thoracic spinal cord injury and requires the use of a wheelchair at all times when
15   traveling in public.
16         5.     Defendants are, or were at the time of the incident, the real property owners,
17   business operators, lessors and/or lessees of the real property for a convenience store and
18   gas station (“Business”) located at or about 392 N. Lake Ave., Pasadena, California.
19         6.     The true names and capacities, whether individual, corporate, associate or
20   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
21   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
22   Court to amend this Complaint when the true names and capacities have been
23   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
24   fictitiously named Defendants are responsible in some manner, and therefore, liable to
25   Plaintiff for the acts herein alleged.
26         7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
27   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
28   Defendants, and/or was acting in concert with each of the other Defendants, and in doing



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 1   the things alleged herein was acting with the knowledge and consent of the other
 2   Defendants and within the course and scope of such agency or employment relationship.
 3         8.     Whenever and wherever reference is made in this Complaint to any act or
 4   failure to act by a defendant or Defendants, such allegations and references shall also be
 5   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6   and severally.
 7                                 FACTUAL ALLEGATIONS
 8         9.     In or about March of 2021, Plaintiff went to the Business. In or about April
 9   of 2021, Plaintiff returned to the Business. The Business is a convenience store and gas
10   station business establishment, which is open to the public, and is a place of public
11   accommodation and affects commerce through its operation. Defendants provide parking
12   spaces for customers.
13         10.    While attempting to enter the Business during each visit, Plaintiff personally
14   encountered a number of barriers that interfered with his ability to use and enjoy the
15   goods, services, privileges, and accommodations offered at the Business. To the extent
16   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
17   limited to, the following:
18                a.     Defendants failed to comply with the federal and state standards for
19                       the parking space designated for persons with disabilities. Defendants
20                       failed to provide the parking space identification sign with the
21                       International Symbol of Accessibility.
22                b.     Defendants failed to comply with the federal and state standards for
23                       the parking space designated for persons with disabilities. Defendants
24                       failed to post required signage such as “Van Accessible” and
25                       “Minimum Fine $250.”
26                c.     Defendant failed to maintain the parking space designated for persons
27                       with disabilities to comply with the federal and state standards.
28




                                   COMPLAINT FOR DAMAGES - 3
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 1                       Defendants failed to provide the access aisles with level surface
 2                       slopes.
 3         11.    These barriers and conditions denied Plaintiff the full and equal access to the
 4   Business. Plaintiff wishes to patronize the Business again. However, Plaintiff is deterred
 5   from visiting the Business because his knowledge of these violations prevents him from
 6   returning until the barriers are removed.
 7         12.    Based on the violations, Plaintiff alleges, on information and belief, that
 8   there are additional barriers to accessibility at the Business after further site inspection.
 9   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
10   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
11         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
12   knew that particular barriers render the Business inaccessible, violate state and federal
13   law, and interfere with access for the physically disabled.
14         14.    At all relevant times, Defendants had and still have control and dominion
15   over the conditions at this location and had and still have the financial resources to
16   remove these barriers without much difficulty or expenses to make the Business
17   accessible to the physically disabled in compliance with ADDAG and Title 24
18   regulations. Defendants have not removed such barriers and have not modified the
19   Business to conform to accessibility regulations.
20                                   FIRST CAUSE OF ACTION
21       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
22         15.    Plaintiff incorporates by reference each of the allegations in all prior
23   paragraphs in this complaint.
24         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
25   shall be discriminated against on the basis of disability in the full and equal enjoyment of
26   the goods, services, facilities, privileges, advantages, or accommodations of any place of
27   public accommodation by any person who owns, leases, or leases to, or operates a place
28   of public accommodation. See 42 U.S.C. § 12182(a).



                                     COMPLAINT FOR DAMAGES - 4
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 1         17.   Discrimination, inter alia, includes:
 2               a.    A failure to make reasonable modification in policies, practices, or
 3                     procedures, when such modifications are necessary to afford such
 4                     goods, services, facilities, privileges, advantages, or accommodations
 5                     to individuals with disabilities, unless the entity can demonstrate that
 6                     making such modifications would fundamentally alter the nature of
 7                     such goods, services, facilities, privileges, advantages, or
 8                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 9               b.    A failure to take such steps as may be necessary to ensure that no
10                     individual with a disability is excluded, denied services, segregated or
11                     otherwise treated differently than other individuals because of the
12                     absence of auxiliary aids and services, unless the entity can
13                     demonstrate that taking such steps would fundamentally alter the
14                     nature of the good, service, facility, privilege, advantage, or
15                     accommodation being offered or would result in an undue burden. 42
16                     U.S.C. § 12182(b)(2)(A)(iii).
17               c.    A failure to remove architectural barriers, and communication barriers
18                     that are structural in nature, in existing facilities, and transportation
19                     barriers in existing vehicles and rail passenger cars used by an
20                     establishment for transporting individuals (not including barriers that
21                     can only be removed through the retrofitting of vehicles or rail
22                     passenger cars by the installation of a hydraulic or other lift), where
23                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
24               d.    A failure to make alterations in such a manner that, to the maximum
25                     extent feasible, the altered portions of the facility are readily
26                     accessible to and usable by individuals with disabilities, including
27                     individuals who use wheelchairs or to ensure that, to the maximum
28                     extent feasible, the path of travel to the altered area and the



                                  COMPLAINT FOR DAMAGES - 5
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 1                       bathrooms, telephones, and drinking fountains serving the altered
 2                       area, are readily accessible to and usable by individuals with
 3                       disabilities where such alterations to the path or travel or the
 4                       bathrooms, telephones, and drinking fountains serving the altered
 5                       area are not disproportionate to the overall alterations in terms of cost
 6                       and scope. 42 U.S.C. § 12183(a)(2).
 7         18.    Where parking spaces are provided, accessible parking spaces shall be
 8   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 9   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
10   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
11   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
12   be van parking space. 2010 ADA Standards § 208.2.4.
13         19.    Under the ADA, the method and color of marking are to be addressed by
14   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
15   Building Code (“CBC”), the parking space identification signs shall include the
16   International Symbol of Accessibility. Parking identification signs shall be reflectorized
17   with a minimum area of 70 square inches. Additional language or an additional sign
18   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
19   parking space identification sign shall be permanently posted immediately adjacent and
20   visible from each parking space, shall be located with its centerline a maximum of 12
21   inches from the centerline of the parking space and may be posted on a wall at the
22   interior end of the parking space. See CBC § 11B-502.6, et seq.
23         20.    Moreover, an additional sign shall be posted either in a conspicuous place at
24   each entrance to an off-street parking facility or immediately adjacent to on-site
25   accessible parking and visible from each parking space. The additional sign shall not be
26   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
27   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
28   designated accessible spaces not displaying distinguishing placards or special license



                                   COMPLAINT FOR DAMAGES - 6
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 1   plates issued for persons with disabilities will be towed always at the owner’s expense…”
 2   See CBC § 11B-502.8, et seq. Signs shall be 60 inches minimum above the finish floor or
 3   ground surface measured to the bottom of the sign. 2010 ADA Standards § 502.6.
 4         21.    Here, Defendants failed to provide the parking space identification sign with
 5   the International Symbol of Accessibility. In addition, Defendants failed to provide signs
 6   stating “Minimum Fine $250” and “Van Accessible.”
 7         22.    Under the 1991 Standards, parking spaces and access aisles must be level
 8   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
 9   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
10   shall be part of an accessible route to the building or facility entrance and shall comply
11   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
12   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
13   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
14   directions. 1991 Standards § 4.6.3.
15         23.    Here, the access aisles are not level with the parking spaces. Under the 2010
16   Standards, access aisles shall be at the same level as the parking spaces they serve.
17   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
18   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
19   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
20         24.    A public accommodation shall maintain in operable working condition those
21   features of facilities and equipment that are required to be readily accessible to and usable
22   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
23   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
24   violation of Plaintiff’s rights under the ADA and its related regulations.
25         25.    The Business has denied and continues to deny full and equal access to
26   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
27   discriminated against due to the lack of accessible facilities, and therefore, seeks
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                                   COMPLAINT FOR DAMAGES - 7
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 1   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 2   by individuals with disabilities.
 3                                 SECOND CAUSE OF ACTION
 4                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 5         26.    Plaintiff incorporates by reference each of the allegations in all prior
 6   paragraphs in this complaint.
 7         27.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 8   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 9   national origin, disability, medical condition, genetic information, marital status, sexual
10   orientation, citizenship, primary language, or immigration status are entitled to the full
11   and equal accommodations, advantages, facilities, privileges, or services in all business
12   establishments of every kind whatsoever.”
13         28.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
14   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
15   for each and every offense for the actual damages, and any amount that may be
16   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
17   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
18   attorney’s fees that may be determined by the court in addition thereto, suffered by any
19   person denied the rights provided in Section 51, 51.5, or 51.6.
20         29.    California Civil Code § 51(f) specifies, “a violation of the right of any
21   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
22   shall also constitute a violation of this section.”
23         30.    The actions and omissions of Defendants alleged herein constitute a denial
24   of full and equal accommodation, advantages, facilities, privileges, or services by
25   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
26   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
27   51 and 52.
28




                                     COMPLAINT FOR DAMAGES - 8
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 1         31.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 2   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 3   damages as specified in California Civil Code §55.56(a)-(c).
 4                                 THIRD CAUSE OF ACTION
 5               VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 6         32.    Plaintiff incorporates by reference each of the allegations in all prior
 7   paragraphs in this complaint.
 8         33.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 9   entitled to full and equal access, as other members of the general public, to
10   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
11   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
12   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
13   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
14   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
15   places of public accommodations, amusement, or resort, and other places in which the
16   general public is invited, subject only to the conditions and limitations established by
17   law, or state or federal regulation, and applicable alike to all persons.
18         34.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
19   corporation who denies or interferes with admittance to or enjoyment of public facilities
20   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
21   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
22   the actual damages, and any amount as may be determined by a jury, or a court sitting
23   without a jury, up to a maximum of three times the amount of actual damages but in no
24   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
25   determined by the court in addition thereto, suffered by any person denied the rights
26   provided in Section 54, 54.1, and 54.2.
27         35.    California Civil Code § 54(d) specifies, “a violation of the right of an
28   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also



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 1    constitute a violation of this section, and nothing in this section shall be construed to limit
 2    the access of any person in violation of that act.
 3           36.   The actions and omissions of Defendants alleged herein constitute a denial
 4    of full and equal accommodation, advantages, and facilities by physically disabled
 5    persons within the meaning of California Civil Code § 54. Defendants have
 6    discriminated against Plaintiff in violation of California Civil Code § 54.
 7           37.   The violations of the California Disabled Persons Act caused Plaintiff to
 8    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 9    statutory damages as specified in California Civil Code §55.56(a)-(c).
10                                 FOURTH CAUSE OF ACTION
11                                 UNFAIR COMPETITION ACT
12           38.   Plaintiff incorporates by reference each of the allegations in all prior
13    paragraphs in this complaint.
14           39.   Defendants have engaged in unfair competition, unfair or fraudulent
15    business practices, and unfair, deceptive, untrue or misleading advertising in violation of
16    the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
17           40.   Defendants engage in business practices and policies that create systemic
18    barriers to full and equal access for people with disability in violation of state and federal
19    law.
20           41.   The actions and omissions of Defendants are unfair and injurious to
21    Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
22    unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
23    provided with goods and services provided to other consumers. Plaintiff seeks relief
24    necessary to prevent Defendants’ continued unfair business practices and policies and
25    restitution of any month that Defendants acquired by means of such unfair competition,
26    including profits unfairly obtained.
27    //
28    //



                                    COMPLAINT FOR DAMAGES - 10
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 1                                    FIFTH CAUSE OF ACTION
 2                                          NEGLIGENCE
 3           46.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5           47.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 6    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 7    to the Plaintiff.
 8           48.    Defendants breached their duty of care by violating the provisions of ADA,
 9    Unruh Civil Rights Act and California Disabled Persons Act.
10           49.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
11    has suffered damages.
12                                      PRAYER FOR RELIEF
13           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
14    Defendants as follows:
15           1.     For preliminary and permanent injunction directing Defendants to comply
16    with the Americans with Disability Act and the Unruh Civil Rights Act;
17           2.     Award of all appropriate damages, including but not limited to statutory
18    damages, general damages and treble damages in amounts, according to proof;
19           3.     Award of all reasonable restitution for Defendants’ unfair competition
20    practices;
21           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
22    action;
23           5.     Prejudgment interest pursuant to California Civil Code § 3291; and
24           6.     Such other and further relief as the Court deems just and proper.
25    //
26    //
27    //
28    //



                                    COMPLAINT FOR DAMAGES - 11
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 1                               DEMAND FOR TRIAL BY JURY
 2          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3    demands a trial by jury on all issues so triable.
 4
 5    Dated: June 4, 2021                     SO. CAL. EQUAL ACCESS GROUP
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 7
 8                                            By:   _/s/ Jason J. Kim_____________
                                                    Jason J. Kim, Esq.
 9                                            Attorneys for Plaintiff
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                                    COMPLAINT FOR DAMAGES - 12
